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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

 JIM S. ADLER, P.C. and JIM ADLER,                §
                                                  §
              Plaintiffs,                         §
                                                  §
 V.                                               §   No. 3:19-cv-2025-K-BN
                                                  §
 MCNEIL CONSULTANTS, LLC d/b/a                    §
 ACCIDENT INJURY LEGAL CENTER,                    §
 QUINTESSA MARKETING, LLC d/b/a                   §
 ACCIDENT INJURY LEGAL CENTER,                    §
 and LAUREN VON MCNEIL,                           §
                                                  §
                        Defendants.

           ORDER ACCEPTING FINDINGS AND RECOMMENDATION
               OF THE UNITED STATES MAGISTRATE JUDGE

       After making an independent review of the pleadings, files and records in this case,

 and the Findings, Conclusions, and Recommendation of the United States Magistrate

 Judge dated July 27, 2023 on Defendants’ Motion for Partial Summary Judgment [Dtk.

 No. 101], and after considering Plaintiffs’ Objections filed on August 10, 2023 [Dtk. No.

 185] and making a de novo review of those portions of the proposed Findings,

 Conclusions, and Recommendation to which objections were made, the objections are

 OVERRULED. The Court finds that the Findings, Conclusions, and Recommendation

 of the Magistrate Judge are correct and they are accepted as the Findings, Conclusions,

 and Recommendation of the Court.

       IT IS, THEREFORE, ORDERED that the Findings, Conclusions, and

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 Recommendation of the United States Magistrate Judge are accepted.

       Defendants’ Motion for Partial Summary Judgment on Plaintiff’s Claims for

 Dilution, Misappropriation, Tortious Interference, and Request for Disgorgement [Dkt.

 No. 101] is GRANTED in part and – only as to Adler’s request for disgorgement for its

 claim of trademark infringement under the Lanham Act – DENIED in part.

       SO ORDERED.

       Signed August 28th, 2023.


                                          _____________________________________
                                          ED KINKEADE
                                          UNITED STATES DISTRICT JUDGE




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